                                           UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF OREGON
In re                                          )      Case No.
Matthew George Malarkey                        )
Sadie Lynn Malarkey                            )      [ONLY FOR CHAPTER 13 CASES]
                                               )      DEBTOR'S ATTORNEY'S DISCLOSURE
                                               )      OF COMPENSATION AND ANY
                                               )      EMPLOYMENT AGREEMENT, AND
                                               )      APPLICATION FOR COMPENSATION,
Debtor(s)                                      )      UNDER 11 USC §329 AND FRBP 2016(b)
Debtor's attorney discloses compensation paid or to be paid in the above referenced case. Debtor and debtor's
attorney have agreed to attorney compensation, and have have not entered into an employment
agreement. A copy of the employment agreement, if any, is attached hereto.
The applicable schedule for the fee agreement between debtor and debtor's attorney is indicated below. If
Schedule 1 or Schedule 2 is selected, debtor(s), acting by and through the undersigned counsel, apply to the
court for an order authorizing the compensation specified therein.

    SCHEDULE 1: The total fee request is $ ($4,750 maximum). This amount represents all fees for the
    entire life of the case except for appeals or any adversary proceeding. Debtor has agreed to pay fees of
    $ ($4,750 maximum) and expenses of $ for a total of .
        Debtor      (specify)      has paid $ , leaving $            to be paid through the plan.


    SCHEDULE 2: Regarding all services rendered through confirmation of the plan plus the initial audit of
    claims, debtor and debtor's attorney have agreed upon:
       (a) a flat fee (i.e., requiring no itemization) of $ 3,450 ($3,450 maximum). Debtor and debtor's attorney
            have agreed that post-confirmation services (after the initial audit of claims) will be charged as
            specified in the attached agreement or, if there is no written agreement, as follows:




        (b) an estimated total fee of $  and expenses of $ . Time records must be kept for all work
            performed both "pre" and "post" petition. Such records may be requested by the court at any time,
            and must show the time and rate applied to each service rendered. If the estimated fee exceeds
            $3,450, an itemized statement showing the time and hourly rate applied to each service rendered,
            attached to LBF 1306, must be filed with the court not less than one week prior to the final
            confirmation hearing.
        Debtor      (specify)         has paid $ 690 , leaving $ 2,760            to be paid through the plan.
    Debtor and debtor's attorney have agreed that post-confirmation services (after the initial audit of claims)
    will be charged as specified in the attached agreement or, if there is no written agreement, as follows:




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    SCHEDULE 3: [COMPLETE ONLY IF CURRENT ATTORNEY WAS RETAINED AFTER CONFIRMATION
    OF A PLAN.] Debtor and debtor's attorney have agreed to the fee arrangements as follows:




   Debtor       (specify)      has paid $ , leaving $           to be paid through the plan.
    [If the services specified in a previously submitted Schedule 1 or Schedule 2 (through confirmation and the
    initial audit of claims) were not completed] The debtor, the debtor’s former attorney, and the debtor’s
    current attorney have agreed to the following with respect to the former attorney’s fees and will apply for
    any necessary court order for approval:


IMPORTANT:
1. No additional compensation requests will be granted if SCHEDULE 1 is selected, or after a final application
   is filed if SCHEDULE 2 or SCHEDULE 3 is selected.
2. Supplemental applications for compensation: (a) may only be filed if SCHEDULE 2 or SCHEDULE 3 is
   selected;(b) will not be considered unless the application is clearly marked as a final compensation
   application, or unless the supplemental compensation requested is more than $500 and at least 6 months
   have expired since the filing of the case or since the filing of any earlier application; and (c) must be filed
   using LBF #1307, including an itemization of all services previously performed for which no previous
   itemization and application has been filed.


I certify there is no agreement to share compensation with any other person, except with a regular member,
partner, or associate of my attorney firm, except as follows (provide details): .
I further certify that on      February 13, 2020      a copy of this document was served on the debtor(s) and trustee.

DATED: February 13, 2020
                                                                            /s/ Ryan P. Hackett
                                                                            Ryan P. Hackett OSB #04301
                                                                            Debtor's Attorney




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